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                                          186290



                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



  IN RE JOHNSON & JOHNSON                       Civil No. 3:16-md-2738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES, PRACTICES
  AND PRODUCTS LIABILITY
  LITIGATION

  This document relates to:
  Jeanette Muirhead
  Case No. 3:24-cv-03843



                              AMENDED NOTICE OF FILING

        Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that the Amended Short Form Complaint and Jury Demand was filed on 06/07/2024

 on behalf of Jeanette Muirhead, Individually and as Anticipated Personal Representative for the

 Estate of Bonnie Rubin, Deceased.


 DATED: 06/07/2024                             Respectfully submitted,

                                               By: /s/ Daniel J. Thornburgh

                                               Daniel J. Thornburgh
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                                               Attorney for Plaintiff




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                                            186291


                                 CERTIFICATE OF SERVICE

        I hereby certify that on 06/07/2024, a copy of the foregoing NOTICE OF FILING was

 filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by

 operation of the Court’s electronic filing system to all parties indicated on the electronic filing

 receipt. Parties may access this filing through the Court’s system.


                                                 Respectfully submitted,

                                                 By: /s/ Daniel J. Thornburgh

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